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                   UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF NEW HAMPSHIRE



United States of America

            v.                               Case No. 10-cr-48-03 SM

Raul Posadas



                                    ORDER

      The defendant Raul Posadas, through counsel, has moved to continue the trial

scheduled for December 7, 2010 for a period of forty-five days, citing the need for

additional time to negotiate a non-trial disposition of this case. The Government and

co-defendants assent to the proposed continuance of the trial date.

      Accordingly, for the above reasons, the court will continue the trial from

December 7, 2010 to February 15, 2011. In agreeing to continue the trial, the court

finds pursuant to 18 U.S.C. § 3161(h)(7)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the best interests of the

public and the defendants in a speedy trial. The defendant shall file a waiver of

speedy trial not later than November 29, 2010.
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     Final Pretrial Conference:       February 4, 2011 at 4:30 PM

     Jury Selection:                  February 15, 2011 at 9:30 AM

     SO ORDERED.



November 22, 2010                      _________________________
                                      Steven J. McAuliffe
                                      Chief Judge

cc: Counsel of Record
    U. S. Probation
    U. S. Marshal




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